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   8
                                         UNITED STATES DISTRICT COURT
   9
                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11
     JUUL LABS, INC., a Delaware                         Case No. 2:21-cv-03056-DSF-PDx
  12 Corporation,
  13                        Plaintiff,                   PLAINTIFF JUUL LABS, INC.’S
                                                         NOTICE OF MOTION AND
  14             v.                                      MOTION FOR SUMMARY
                                                         JUDGMENT
  15 ANDY CHOU (aka LIZHI ZHOU), an
     individual; YIWU CUTE JEWELRY
  16 CO., LTD., a Chinese limited company;               Judge:   Hon. Dale S. Fischer
     YIWU XITE JEWELRY CO., LTD., a                      Date:    August 16, 2021
  17 Chinese limited company; CJ                         Time:    1:30 p.m.
     FULFILLMENT CORP., a California                     Ctrm.:   7D
  18 Corporation; CJ TRADE CORP., an
     Arizona Corporation; and YIWU
  19 PROMOTIONAL TRADE CO., LTD.                         Action Filed:          April 8, 2021
     (aka YIWU PROMOTION TRADE                           Trial Date:            October 18, 2022
  20 CO., LTD.), a Chinese limited
     company,
  21
                  Defendant.
  22
  23 AND RELATED CROSS ACTION
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       2875.000/1633104.1
                                                      1                Case No. 2:21-cv-03056-DSF-PDx
                       PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
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   1 TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
   2 RECORD:
   3             PLEASE TAKE NOTICE that on August 16, 2021 at 1:30 p.m., or as soon
   4 thereafter as the matter may be heard, in Department 7D of the above courthouse,
   5 located at 350 W 1st Street, Los Angeles, California 90012-4565, Plaintiff JUUL
   6 Labs, Inc. hereby moves the Court for summary judgment as to each and every
   7 claim in the Complaint filed by JUUL Labs, Inc. (“JLI”).
   8             This motion is based upon this Notice of Motion and Motion for Summary
   9 Judgment, the Memorandum of Points and Authorities in support thereof, the
  10 Separate Statement of Unconverted Facts and Conclusions of Law, the Declarations
  11 of Adrian Punderson, Matthew Hewlett, Theodore Kavowras, and Gabriella Wilkins
  12 filed herewith (including exhibits), the Court’s files and records in this action, and
  13 such other written and oral matters that may be presented to the Court on this
  14 motion.
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  16 DATED: July 19, 2021                        BARTKO ZANKEL BUNZEL & MILLER
                                                 A Professional Law Corporation
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                                                 By:         /s/ Gabriella A. Wilkins
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                                                       Gabriella A. Wilkins
  20                                                   Attorneys for JUUL Labs, Inc.
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                                                      2                Case No. 2:21-cv-03056-DSF-PDx
                       PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
